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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA              :
                                       :
       v.                              :        No. 3:13-cr-71-1 (VLB)
                                       :
 PEDRO RIVERA                          :
     Defendant.                        :         June 15, 2020
                                       :
                                       :
                                       :
                                       :
                                       :

  ORDER AND MEMORANDUM OF DECISION GRANTING DEFENDANT PEDRO
      RIVERA’S MOTION FOR COMPASSIONATE RELEASE, DKT. 1378

      Before the Court is Defendant Pedro Rivera’s Motion for a Reduction of

Sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) for “extraordinary and

compelling” reasons. [Dkt. 1378]. The Court initially denied without prejudice

Defendant’s Motion for Compassionate Release because his stated release plan

proposed that he relocate to Puerto Rico during the period of his supervised

release but did not explain how he would be effectively supervised in that district.

[Dkt. 1388]. Thereafter, Defendant filed supplemental briefing showing that the U.S.

Probation Office for the District of Puerto Rico conducted a site visit to his

brother’s home and agreed to supervise him. [Dkt. 1389]. The Government opposes

Defendant’s motion. [Dkt. 1387 (Gov. Mem. in Opp’n)]. After careful consideration,

the Court GRANTS Defendant’s motion.




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                                   Background


      On December 9, 2015, the Court sentenced Mr. Rivera to 116 months of

incarceration following Defendant’s guilty plea to one count of Conspiracy to

Distribute, and to Possess with Intent to Distribute 500 grams or more of cocaine,

in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B). Mr. Rivera was the lead

defendant in a 21-defendant conspiracy involving the trafficking of wholesale

quantities of cocaine from Puerto Rico to New London, Connecticut via the U.S.

Postal Service and other means. [Dkt. 1196 (Pre-Sentence Investigation Report) ¶¶

3, 38](hereinafter the PSR).1


      Mr. Rivera stipulated to a drug quantity of at least 5 but less than 15

kilograms of cocaine. [PSR ¶ 38]. The drug conspiracy was particularly pernicious

and exploitative, given the impact on the small community of New London and

Defendant’s ostentatious lifestyle funded by drug proceeds. [Dkt. 1230 (12/09/2015,

Sentencing hearing audio file) at 40:30-43:00, 44:33-45:48, 52:00-57:42]. Mr. Rivera

was a manager or supervisor of the conspiracy, which included his mother and

father, and members of his girlfriend’s family, among others. These other

individuals assisted Mr. Rivera with packaging and shipping cocaine, picking up

packages and wiring money for purposes of obtaining cocaine. [PSR ¶ 47]. At the




1 At sentencing, the Court confirmed that Defendant was interviewed by probation
with his counsel present and read the PSR. Defendant did not have any objections
to the facts as presented in the PSR and the Court adopted the PSR as its finding
of fact. [Dkt. 1230 (12/09/2015, Sentencing hearing audio file) at 1:50-2:38]; [Dkt.
1241 (Sealed Statement of Reasons)].
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time of his arrest, Defendant also possessed a shotgun and ammunition. [PSR ¶

47].


       Defendant’s total offense level was 32 and he had no prior arrests (Criminal

History Category I) rendering an advisory guideline range of 121 to 151 months of

incarceration. [Dkt. 1230 (12/09/2015, Sentencing hearing audio file) at 58:56-59:10].

Taking all of the 18 U.S.C. § 3553(a) sentencing factors into account, the Court

sentenced Mr. Rivera to, inter alia, a 116-month term of incarceration. Defendant

appealed the imposition of his sentence, which was affirmed by the U.S. Court of

Appeals for the Second Circuit on July 13, 2017. [Dkt. 1335 (2nd Cir. Mandate

dismissing 15-2045)].


       A review of the Bureau of Prison’s (“BOP”) Inmate Locator confirms that Mr.

Rivera was designated to FMC Devens. See Inmate Locator Service, BOP

Registration      no.       21576-014,        Fed.     Bureau        of      Prisons,

https://www.bop.gov/inmateloc/. See Vera v. United States, No. 3:11-CV-00864-

VAB, 2017 WL 3081666, at *3, n. 2 (D. Conn. July 19, 2017) (taking judicial notice of

the inmate locator search). His current release date is June 29, 2021.

                                   Legal Standard


       “Federal courts are forbidden, as a general matter, to ‘modify a term of

imprisonment once it has been imposed’; but the rule of finality is subject to a few

narrow exceptions.” Freeman v. United States, 564 U.S. 522, 526 (2011) (citations

omitted) (quoting 18 U.S.C. § 3582(c)). The statute providing for the finality of a




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criminal judgment contains a narrow exception to provide for re-sentencing for

compassionate release. 18 U.S.C. § 3582(c)(1)(A).


      Addressing the specific provision under which Defendant seeks release, the

First Step Act of 2018 amended the procedural requirements for bringing a motion

to reduce sentence to provide compassionate release. First Step Act of 2018,

Section 603(b), Pub. L. 115-391, 132 Stat. 5194 (2018) (amending 18 U.S.C. §

3582(c)(1)(A)). This amendment allows a defendant to move for compassionate

release “after the defendant has fully exhausted all administrative rights to appeal

a failure of the Bureau of Prisons to bring a motion on the defendant's behalf or the

lapse of 30 days from the receipt of such a request by the warden of the defendant's

facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). Previously, only the Bureau

of Prisons (“BOP”) could move for compassionate release and such motions were

rarely filed. See United States v. Rivernider, No. 3:10-CR-222(RNC), 2020 WL

597393, at *2 (D. Conn. Feb. 7, 2020). The amendment expanded access to the

courts but did not alter the substantive standard. See Ibid.; see also United States

v. Ebbers, No. S402CR11443VEC, 2020 WL 91399, at *4 (S.D.N.Y. Jan. 8, 2020).


      To consider a sentence reduction for compassionate release, Defendant

must show that “extraordinary and compelling reasons warrant such a reduction.”

18 U.S.C. § 3582(c)(1)(A)(i). By statute, such reduction must be consistent with

applicable policy statements issued by the U.S. Sentencing Commission. §

3582(c)(1)(A). In addition to finding “extraordinary and compelling” reasons for the

reduction, the Court must also find that “[t]he defendant is not a danger to the

safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g)”

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per U.S.S.G. 1B1.13(2). Then, before compassionate release can be granted, the

Court must consider the 18 U.S.C. § 3553(a) sentencing factors to the extent

relevant. 18 U.S.C. § 3582(c)(1)(A).


      At Congress’s direction, the U.S. Sentencing Commission promulgated

guidance on the circumstances constituting “extraordinary and compelling”

reasons. See 28 U.S.C. § 944(t). As this Court and other courts have recognized,

the U.S. Sentencing Commission guidance has not yet been updated to reflect the

liberalization of the procedural requirements. United States v. Gagne, No. 3:18-CR-

242 (VLB), 2020 WL 1640152, at *2 (D. Conn. Apr. 2, 2020); Ebbers, 2020 WL 91399,

at *4. The Application Notes to U.S.S.G. § 1B1.13 explain that a defendant’s medical

condition may constitute “extraordinary and compelling” circumstances when:


(A) Medical Condition of the Defendant.--
     (i) The defendant is suffering from a terminal illness (i.e., a serious and
     advanced illness with an end of life trajectory). A specific prognosis of life
     expectancy (i.e., a probability of death within a specific time period) is not
     required. Examples include metastatic solid-tumor cancer, amyotrophic
     lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.
     [or]
      (ii) The defendant is--
             (I) suffering from a serious physical or medical condition,
             (II) suffering from a serious functional or cognitive impairment, or
             (III) experiencing deteriorating physical or mental health because of
             the aging process,
     that substantially diminishes the ability of the defendant to provide self-
     care within the environment of a correctional facility and from which he or
     she is not expected to recover.

U.S.S.G. 1B1.13, Commentary Application Note 1(A). Commentary Application Note

1(D) contains a residual clause to provide relief for other “extraordinary and

compelling reasons” as determined by the Director of the Bureau of Prisons. Each

of the conditions listed in the application note are debilitating and render an inmate

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unlikely to recidivate. The Defendant bears the burden of showing that he is entitled

to a sentence reduction. Ebbers, 2020 WL 91399, at *4.


                                     Discussion


   I.     Exhaustion of administrative remedies pursuant to 18 U.S.C. §
          3582(c)(1)(A)
   18 U.S.C. § 3582(c)(1)(A) requires that a defendant must first seek administrative

relief, and then may proceed to court after fully exhausting administrative appeals

or the lapse of thirty days from the warden’s receipt of the request, whichever is

earlier. Here, the Court agrees with the parties that Defendant has satisfied the

administrative exhaustion requirement. Mr. Rivera avers that he requested that the

BOP file a motion for compassionate release on his behalf on April 21, 2020. [Dkt.

1378 (Def. Suppl. Mot.) at 2]. Mr. Rivera included a copy of his inmate request, dated

April 21, 2020, with his pro se filing. [Dkt. 1378-1 (Def. pro se mot.) Ex. A]. The

warden’s denial dated May 14, 2020, states that the form was received by the

warden on May 1, 2020. [Dkt. 1378-1 (Ex. A)]. Applying the prison mailbox rule, the

thirty-day period commences when the request was signed and submitted to

prison officials. See United States v. Resnick, No. 14 CR 810 (CM), 2020 WL

1651508, at *6 (S.D.N.Y. Apr. 2, 2020)(applying the mailbox rule to the § 3582

exhaustion requirement); see also Houston v. Lack, 487 U.S. 266, 276

(1988)(explaining the prison mail box rule).


   Consequently,    since   over   thirty   days   passed   between    Mr.   Rivera’s

administrative request on April 21, 2020 and his counsel’s filing of the

supplemental motion for compassionate release on May 25, 2020, he has


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exhausted his administrative remedies pursuant to 18 U.S.C. § 3582(c)(1)(A) and

his motion is properly before the Court.2


    II.     Whether Defendant has demonstrated “extraordinary and compelling
            reasons”
          The Court recognizes that “extraordinary and compelling” circumstances

may exist outside of those circumstances delineated by the U.S. Sentencing

Commission, given the advisory nature of the guidelines, United States v. Booker,

543 U.S. 220 (2005), and their conflict with the statutory language of the First Step

Act amendments. See United States v. Anton Jepsen, 3:19-cr-73, Dkt. 41 at 7-8, 2020

WL 1640232 (D.Conn. Apr. 1, 2020)(Bryant, J.); United States v. Beck, 425 F.Supp.3d

573, 579–80 (M.D.N.C. 2019); United States v. Cantu, 423 F.Supp.3d 345, 348–353

(S.D. Tex. 2019). The guidelines are nevertheless helpful in defining the vague

standard because the First Step Act did not amend the substantive standard.

Ebbers, 2020 WL 91399, at *4.


          This Court and others have recognized that an inmate’s especially

heightened risk of infection and risk of developing severe complications from

COVID-19 based on their medical history may constitute “extraordinary and

compelling” reasons to grant compassionate release, often in combination with

other factors. See, e.g. Jepsen, 2020 WL 1640232, at *5 (granting motion for

compassionate release where defendant suffers from a compromised immune




2 Implicit in this ruling is that exhaustion under 18 U.S.C. § 3582(c)(1)(A) requires
that an inmate exhaust administrative remedies prior to filing a motion for
compassionate release, and thus administrative remedies cannot be exhausted
during the pendency of the motion.
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system); United States v. Sanchez, No. 18-CR-00140-VLB-11, 2020 WL 1933815, at

*5 (D. Conn. Apr. 22, 2020) (same); see also, Martinez-Brooks v. Easter, No. 3:20-

CV-00569 (MPS), 2020 WL 2405350, at *13 (D. Conn. May 12, 2020) (“…approximately

25 out of 48 COVID-19 related motions for compassionate release have been

granted in this District alone since the crisis began.”); but see United States v.

Spruill, No. 3:18-CR-0022-10(VLB), 2020 WL 2113621, at *5 (D. Conn. May 4,

2020)(denying compassionate release where “[defendant] is young and healthy;

his is the antithesis of the profile of a person at heightened risk of complications

or death due to contracting COVID-19.”).


      Here, Mr. Rivera satisfies his burden of establishing “extraordinary and

compelling” reasons to modify his sentence because he is especially vulnerable to

severe complications if he contracts COVID-19, he is nearing the end of his

sentence, and he has demonstrated rehabilitative potential.


      First, the parties agree that Mr. Rivera suffers from type 2 diabetes mellitus.

[Dkt. 1384 (Def. Suppl. Mot.) at 2-3]; [Dkt. 1387 (Gov. Opp’n) at 3]. Defendant’s

medical records confirm that he is diabetic and that his diabetes is relatively well

controlled by two medications. [Dkt. 1386 (Sealed Med. R.) at 11](03/11/2020 health

services note showing Hemoglobin A1C in the diabetic range); see also [Dkt. 1385

(Sealed Med. R.) at 1)](12/20/2019 health services note stating “DMII--good control-

-slightly higher HbAIC this time--suggest cardio and watching diet.”). His medical

records also show that he was diagnosed with morbid obesity. [Dkt. 1385 (Sealed

Med. R.) at 17]. Defendant also argues that he has two other medical conditions,



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high cholesterol and Gilbert’s syndrome, which also place him at greater risk from

COVID-19. [Dkt. 1384 (Def. Suppl. Mot.) at 3-4].


      The Government argues that while the CDC identified diabetics as a

population more vulnerable to severe complications from COVID-19, its webpage

added the qualifier, “particularly if not well controlled,” and thus, since Defendant’s

diabetes is well controlled, he is not at a substantially higher risk of severe

complications or death if he contracts COVID-19. [Dkt. 1387 (Gov. Opp’n) at 3-

4](citing People who are at higher risk for severe illness, Ctrs. for Disease Control

and       Prevention       https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-at-higher-risk.html) (last reviewed by the CDC on May 14,

2020). Here, the Court disagrees with the Government’s interpretation of this

source.


      In interpreting the CDC’s guidance, the Court is mindful of the purpose of

the parties’ cited source. The CDC’s webpage is intended to quickly convey

important health information to the general public grabbling with the pandemic; its

language lacks the contours and nuance of legislation or a carefully drafted

contract. Through this lens, the CDC webpage is understood to mean that diabetics

and people suffering from listed conditions are more vulnerable to COVID-19 than

the general public and that a smaller subgroup of diabetics, those whose

conditions are poorly controlled, are even more vulnerable.


      In United States v. Colvin, No. 3:19CR179 (JBA), 2020 WL 1613943, at *3 (D.

Conn. Apr. 2, 2020), Judge Arterton rejected the Government’s argument that a


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defendant was not “particularly vulnerable to COVID-19” because her diabetes

“appears to be under control.” Other courts have also found that defendants with

diabetes are vulnerable to severe complications from COVID-19 without drawing

the distinction regarding whether or not their diabetes was controlled by

medication. See, e.g. United States v. Miranda, No. 3:16-CR-128-(VAB)-1, 2020 WL

2124604, at *3 (D. Conn. May 5, 2020) (“Courts have also found diabetes to be a

sufficiently   serious    underlying     condition     warranting    compassionate

release.”)(citing examples). Here, considering the CDC guidance and the fact that

the BOP deemed Mr. Rivera’s diabetes severe enough to designate him to a federal

medical center, the Court finds that he is more vulnerable to severe complications

or death if he contracts COVID-19.


      The Government argues that Mr. Rivera’s diabetes is not an “extraordinary

and compelling” reason for release as he is neither terminally ill or unable to

provide self-care in a custodial setting, as contemplated by U.S.S.G. 1B1.13,

Commentary Application Note 1(A). [Dkt. 1387 (Gov. Mem. in Opp’n) at 4]. The

Government argues that, “[i]n sum, it is apparent that, but for the COVID-19

pandemic, Defendant would present no basis for compassionate release.” [Id. at

5]. But this argument is no bar to relief. In the vast majority of cases considered by

this Court and other district courts of late, few defendants would qualify for re-

sentencing in the absence of the potentially lethal risk posed by COVID-19.


      Rather, courts have considered a multitude of factors in factually intensive

inquiries, including defendants’ age, the severity and documented history of their

health conditions, defendants’ history of managing those conditions in prison, the

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proliferation and status of infection at defendants’ facilities, and the proportion of

the term of incarceration that has been served. United States v. Brady, No. S2 18

CR. 316 (PAC), 2020 WL 2512100, at *3 (S.D.N.Y. May 15, 2020)(citations omitted).


      Considering these additional factors, the Court also addresses the

proliferation of COVID-19 at Defendant’s facility. At the time the Government filed

its second opposition brief, there were 26 inmate infections and three staff

infections at FMC Devens. [Dkt. 1387 (Gov. Mem. in Opp’n) at 7]. Now,

approximately two weeks later, FMC Devens reports 41 current inmate infections,

five staff infections, two inmate deaths, and twelve recovered inmates. See BOP

COVID-19        Cases        (Table),      Fed.         Bureau      of       Prisons,

https://www.bop.gov/coronavirus/index.jsp,      (last   updated   06/12/2020).   FMC

Devens is now fourth among BOP facilities for the highest number of active COVID-

19 infections. Id. Unfortunately, federal medical centers like FMC Devens, which

house the BOP’s sickest inmates, have not been spared by the pandemic. See, e.g.

Id. (FMC Fort Worth reported over six hundred inmates had been infected, resulting

in 11 inmate deaths.)


      The Government argues that the virus is also present in Puerto Rico, where

Mr. Rivera intends to reside upon release. [Dkt. 1387 (Gov. Mem in Opp’n) at

5](citing New York Times statistics that Puerto Rico reported over 3,300 infections

and 129 deaths). However, it is the relative rate of infection and mortality that is

more telling. The New York Times source that the Government cites now reports

5,536 cases and 146 deaths in Puerto Rico, with Morovis, P.R. reporting a per capita

rate of 1 in 557. See Puerto Rico Coronavirus Case Count (interactive map), N.Y.

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Times,      https://www.nytimes.com/interactive/2020/us/puerto-rico-coronavirus-

cases.html (last reviewed June 12, 2020). By comparison, 6,205 BOP inmates have

cumulatively tested positive, resulting in a per capita infection rate of

approximately 4 in 100. See BOP COVID-19 Cases (Table), Fed. Bureau of Prisons,

https://www.bop.gov/coronavirus/index.jsp, (last updated 06/12/2020).


      The Court also finds that the limited duration remaining on Defendant’s

sentence as an additional consideration favorable to granting his motion for

compassionate release. Most of Defendant’s sentence has already been served and

he has approximately ten percent of his sentence remaining (i.e. 104 months of

116-month sentence was served). Additionally, the Court considers the character

of the Defendant’s time in custody. At sentencing, the Court noted that Mr. Rivera

had good pretrial adjustment while in custody at the Wyatt Detention Center, first

working in the kitchen, and then promoted to a crew captain position. [Dkt. 1230

(12/09/2015, Sentencing hearing audio file) at 1:03:28-1:04:00]. Mr. Rivera’s BOP

disciplinary history evidences only two minor infractions during his eight years of

incarceration, both technical and related to his participation in rehabilitation

programs. [Dkt. 1384-2 (Def. Suppl. Mot.) Ex. B](infraction for being late for class

and a second infraction for using staff weights as an orderly at the fitness center).


      This case is also distinguishable from United States v. Gamble, No. 3:18-CR-

0022-4(VLB), 2020 WL 1955338 (D. Conn. Apr. 23, 2020) in a few important respects.

Both Mr. Gamble and Mr. Rivera suffer from medication-controlled diabetes, were

convicted of serious narcotics offenses, and are older than most inmates. Both

men possessed firearms, but Mr. Gamble openly expressed a willingness to use a

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firearm, even after his instant federal drug conviction and prior state firearms

conviction. Id. at 1. Unlike Mr. Gamble, Mr. Rivera has served most of his lengthy

sentence. Id. at 6. They are also on opposite ends of the criminal history spectrum;

this was Mr. Rivera’s first criminal conviction, whereas Mr. Gamble had fourteen

prior convictions and was undeterred by a prior 10-year sentence. Id. at 6.


          Accordingly, the Court finds that the combination of Mr. Rivera’s medical

vulnerability to COVID-19, the rapid spread of the disease at his facility, and the

fact that he has served most of his sentence with favorable adjustment, as

constituting “extraordinary and compelling” reasons for a reduction in sentence.


   III.      Whether Defendant poses a danger to the community


   Before granting a motion for compassionate release, the sentencing court must

consider inter alia, the history and characteristics of the person, including:


   (A) the person's character, physical and mental condition, family ties,
       employment, financial resources, length of residence in the community,
       community ties, past conduct, history relating to drug or alcohol abuse,
       criminal history, and record concerning appearance at court proceedings;
18 U.S.C. § 3142(g)(3)(A).
          This inquiry considers the Defendant’s circumstances during the interim

period between the proposed amended sentence and his existing release date.

United States v. Hill, No. 3:19-CR-00038 (JAM), 2020 WL 2542725, at *3 (D. Conn.

May 19, 2020). The Government objected because of ambiguities and

inconsistencies with Defendant’s proposed release plan and argued that he posed

a risk of reengaging in drug trafficking. [Dkt. 1387 (Gov. Opp’n) at 6]. After the Court

denied Mr. Rivera’s motion because he did not explain how he would be effectively

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supervised if he relocated to the District of Puerto Rico, defense counsel filed a

supplemental memorandum indicating that the District of Puerto Rico agreed to

supervise Mr. Rivera and conducted a site visit at his brother’s home. The

supplemental memorandum was accompanied by a letter from Officer Lopez of the

District of Puerto Rico to the Bureau of Prisons, copied to the Probation Office for

this District, confirming the same. [Dkt. 1389-1]. The letter relieves the Court’s

concern about the adequacy of Mr. Rivera’s release plan because the District of

Puerto Rico has already undertaken steps to consider the suitability of his

proposed placement and has agreed to supervise him.


         Given the involvement of Mr. Rivera’s immediate and extended family in the

narcotics trafficking conspiracy, there is greater likelihood that Mr. Rivera would

have the opportunity to reengage in drug dealing. However, Mr. Rivera’s brother

was not involved in drug trafficking and the PSR states that he works as a painter.

[PSR ¶ 62]. Defendant has no prior criminal convictions or any prior history of

violence or significant drug use. There is no appreciably greater risk that he returns

to drug trafficking now, as opposed to a year from now when he is scheduled to be

released.


         Accordingly, the Court finds that Defendant’s release from custody would

not endanger any person or the community at large.


   IV.      Consideration of the 18 U.S.C. § 3553(a) sentencing factors


   Finally, the Court concludes that reducing Mr. Rivera’s sentence comports with

the statutory factors considered at sentencing. As discussed above, Mr. Rivera was


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convicted of a serious drug trafficking offense. He has served most of his custodial

sentence, well above the sixty-month mandatory minimum, with roughly 10% of his

sentence remaining. In light of that, considering his vulnerable health status, and

his favorable adjustment to incarceration, a sentence of time served would still

promote respect for the law and reflect the seriousness of his offense. The Court

also finds that recidivism is less likely because Defendant’s risk of infection during

the pandemic requires him to limit the scope of his interactions with others.

Defendant is older now and his lengthy custodial sentence is likely to dissuade him

from reengaging in criminal activity.


                                    Conclusion


      For the aforementioned reasons, the Court GRANTS Defendant’s motion for

compassionate release. An amended judgment sentencing Mr. Rivera to a sentence

of time served will follow. The conditions of supervised release as set forth in the

initial criminal judgment [Dkt. 1235 (Crim. J)] remain unchanged and shall

commence immediately upon his discharge from BOP custody.


      Mr. Rivera should note that the leniency shown by the Court at sentencing

and again in consideration of his motion for compassionate release is unlikely to

be shown a third time if he betrays the Court’s trust by violating any term of

supervised release, irrespective of its severity or where the violation occurs or any

asserted health risks attendant to incarceration.




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                                             IT IS SO ORDERED

                                            ______/s/________________

                                            Hon. Vanessa L. Bryant
                                            United States District Judge


Dated at Hartford, Connecticut: June 15, 2020




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